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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                      )
                                               )
                    Plaintiff,                 )
                                               )
             vs.                               )                8:06CR312
                                               )
MARIO AYALA-REYNA,                             )         SCHEDULING ORDER
                                               )
                    Defendant.                 )




       An evidentiary hearing on the defendant’s Motion to Suppress/Franks Motion
[51] began on December 5, 2006. However, an issue with defendant needing an
interpreter was raised by the court. On the court’s own motion, the hearing was
stopped.

       IT IS ORDERED that the evidentiary hearing on the Motion to Suppress/Franks
Motion [51] is rescheduled to begin in it’s entirety on December 21, 2006 at 9:00 a.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L.
Hruska U.S. Courthouse, 111 So. 18 th Plaza, Omaha, Nebraska.

      Since this is a criminal case, the defendant must be present, unless excused by
the Court. An interpreter will be provided by the court.

      DATED this 5th day of December, 2006.

                                            BY THE COURT:


                                            s/ F.A. Gossett
                                            United States Magistrate Judge
